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                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                               ORDER
                            Plaintiff,
                                                               08-cr-87-bbc
              v.

COREY THOMAS and
PRINCE BECK,

                            Defendants.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       At a telephone hearing held on February 9, 2009, I reconsidered my earlier order to

deny defendants access to the criminal history portion of Michael Simmons’s presentence

report. Steven Sinnott and Elizabeth Altman appeared for the government. Robert Ruth

and Reed Cornia appeared for defendants, who did not participate in the telephone

conference.

       After hearing argument from defendants, I hewed to my earlier decision to deny

defendants access to Simmons’s presentence report. It may be true that it would be easier

for defendants to obtain the copies of the judgment and pleadings relating to Simmons’s

criminal history, however, it is the case that counsel are in the position to obtain those

themselves. Moreover, the government has represented that it expects that Simmons will

not deny any of his previous criminal convictions if he takes the stand and defendants seek




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to impeach him with those convictions.




                                         ORDER

      IT IS ORDERED that defendants Thomas and Beck’s motion for disclosure of

Michael Simmons’s criminal judgments and pleadings is DENIED.

      Entered this 12th day of February, 2009.

                                         BY THE COURT:
                                         /s/
                                         BARBARA B. CRABB
                                         District Judge




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